Case 1:17-cv-01312-RGA Document 1 Filed 09/15/17 Page 1 of 7 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT 

                            FOR THE DISTRICT OF DELAWARE 



CHRISTOPHER N. CHAPPEL                   *
P. O. Box 33 

Smyrna. Delaware 19977                   *


       Plaintiff                         *
v.
                                         *
STATE OF DELAWARE                                                   17- 1 3 1 2
DEPARTMENT OF CORRECTIONS                *      CASE NO.:
245 McKee Road
Dover, Delaware 19904                    *

SERVE ON:                                *

Matt Denn, Attorney General 

Carvel State Building                    *

820 N. French Street 

Wilmington, Delaware 19801               *


      Defendant                          '*

              *     *       *     *      *      *      *       *    *      *      *
                   COMPLAINT AND REQUEST FOR JURY TRIAL

      Christopher N. Chappel, Plaintiff, in proper person, brings this action against

State of Delaware, Department of Corrections, for violations of Title VII of the Civil

Rights Actf 1964, as amended (42 U.S.C. §2000E et. seq.) (Discrimination on the basis

of race and color, hostile workplace and retaliation) and the laws of the State of

Delaware. As grounds therefore, Plaintiff states as follows:

                                      "rHE PARTIES

      1.      Christopher N. Chappel is an adult black male citizen of the United States

residing in Smyrna, State of Delaware.

      2.      State of Delaware, Department of Corrections, is a division of the State of
Case 1:17-cv-01312-RGA Document 1 Filed 09/15/17 Page 2 of 7 PageID #: 2




Delaware.

                               JURISDIC1"ION AND VENUE

       3.     The Plaintiff filed an administrative complaint with the Equal Employment

Opportunity Commission (hereinafter referred to as "EEOC").

       4.     The EEOC issued a "Notice of Right to Sue"letter, mailed June 12. 2017.

       5.     This complaint was initiated within the ninety (90) day limit after the

receipt of the "Notice of Right to Sue" letter.

       6.     This Court has jurisdiction over the subject matter of this action pursuant

to Title VII of the Civil Rights Act of 1964,42 U.S.C. §2000e-5(b) and 28 U.S.C. §1331.

       7.     The Court has supplemental jurisdiction of Plaintiff's state law claim

pursuant to 28 U.S.C. §1367.

       8.     Venue is proper in this Court, pursuant to 28 U.S.C. §1391©.

                                 STATEMENT OF FACTS

       9.     The Plaintiff is an adult black male citizen of the United States residing in

Smyrna, State of Delaware.

       10.    The Plaintiff was hired by the Defendant on or about December 2, 1996

as a Correctional Officer and has achieved the rank of CO Corporal/Sergeant.

       11.    On or about January 27, 2015, an incident occurred with an inmate,

requiring the use of force.    The force used by the Plaintiff was consistent with that

required by the circumstances.

       12.    On or about March 27, 2015, the Plaintiff was terminated by the

Department, allegedly because the Plaintiff used unnecessary force in connection with

the necessary restraint required under the circumstances in the above incident.
Case 1:17-cv-01312-RGA Document 1 Filed 09/15/17 Page 3 of 7 PageID #: 3




       13.    White    Correctional   Officers of equal     rank and/or having       equal

responsibilities as the Plaintiff, using similar, or greater force in connection with the

necessity of subduing or restraining inmates under similar circumstances have not been

terminated, nor suffered any similar adverse consequences.

       14.    Plaintiff has been discriminated against because, in the performance of

his duties the Defendant, Department of Corrections treats black officers differently

than white officers, and particularly the Plaintiff in this case allowing white officers to

continue in employment following incidents of this nature with inmates, while

terminating employees such as the Plaintiff for like actions.          Plaintiff has been

discriminated against because of race and color.

       15.    In addition to all of the above, Plaintiff's work environment was permeated

with discriminatory intimidation, ridicule, and insult. Black employees and particularly

the Plaintiff were treated differently and held to different standards than white

employees and were discriminated against in receiving promotions.

       16.    Plaintiff has sustained loss of employment and loss of promotions with the

Department in which he was employed for eighteen (18) years, and has lost all

compensation and a[J benefits which he would have earned had his employment been

allowed to continue.

       17.    As a direct and proximate result of the foregoing conduct of the

Defendant, through its agents, servants, and employees, the Plaintiff has suffered

emotional distress, mental anguish, humiliation, embarrassment. pecuniary losses,

including the loss of the past and future earnings, and the loss of other employment
Case 1:17-cv-01312-RGA Document 1 Filed 09/15/17 Page 4 of 7 PageID #: 4




benefits and the loss of reputation.

          18.   All of the discriminatory actions aforementioned taken by employees of

the Defendant were imputable to the Defendant.



                                            COUNT 1

                               DISCRIMINATION ON THE BASIS 

                                   OF RACE AND COLOR 


          19.   Plaintiff reasserts and incorporates by reference the allegations set forth

in Paragraphs 1 through 18 as though fully set forth herein.

          20.   Plaintiff's termination was illegal and was based upon his race and color.

Plaintiff was treated unfavorably compared to white employees similarly situated,

including loss of promotional opportunities.

          21.   The conduct is imputable to the Defendant in that the offensive conduct

was committed by a supervisor or supervisors of the Defendant, and Plaintiff

complained to management about the conduct to no avail. The Defendant did not

investigate, address, or take any action to stop the harassment or to take any remedial

action.

                                          COUNT 2
                                     HOSTILE WORK PLACE

          22.   Plaintiff reasserts and incorporates by reference the allegations set forth

in Paragraphs 1 through 21 as though fully set forth herein.

          23.   The actions of employees of the Defendant, were pervasive and

constituted a pattern of continued harassment as set forth above.

          24.   Plaintiff's   work   environment   was   permeated    with   discriminatory
Case 1:17-cv-01312-RGA Document 1 Filed 09/15/17 Page 5 of 7 PageID #: 5




intimidation, ridicule, and insult.

          25.   The conduct is imputable to the Defendant in that the offensive conduct

was committed by a supervisor or supervisors of the Defendant, and Plaintiff

complained to management about the conduct to no avail. The Defendant did not

investigate, address, or take any action to stop the harassment or to take any remedial

action.

                                           COUNT 4
                                         RETALIATION

          26.   Plaintiff reasserts and incorporates by reference the allegations set forth

in Paragraphs 1 through 25 as though fully set forth herein.

          27.   As aforementioned, as a result Plaintiff registering complaints with regard

to his treatment, the Defendant, through its agents, servants and employees, caused

the Plaintiff to be terminated as aforementioned.

          28.   Plaintiffs   work     environment   was   permeated   with   discriminatory

intimidation, ridicule. and insult.

          29.   The conduct is imputable to the Defendant in that the offensive conduct

was committed by a supervisor or supervisors of the Defendant, and Plaintiff

complained to management about the conduct to no avail. The Defendant did not

investigate, address, or take any remedial action.

                                       REQUEST FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests that the Court award the following

relief:

          A.    Damages according to the proof of any economic injury;

          B.    Compensatory damages, including back pay, front pay and benefits,
Case 1:17-cv-01312-RGA Document 1 Filed 09/15/17 Page 6 of 7 PageID #: 6




according to the proof;

      C.     Punitive damages according to the proof;

      D.     Reasonable attorney's fees and costs, and

      E.     Such other and further relief as this Court shall deem just and appropriate.
Case 1:17-cv-01312-RGA Document 1 Filed 09/15/17 Page 7 of 7 PageID #: 7




                                   JURY DEMAND

    The Plaintiff seeks a trial by jury on any and all issues so triable.


                                               Respectfully submitted,
                                                     -
                                                hristoph
                                               P. O. Box
                                               Smyrna, Delaware 19977
                                               (302) 241~4643
                                               In Proper Person
